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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                   )
                                              )
                         Plaintiff,           )
                                              )
         vs.                                  )       Cause No. 1:02-cr-0169-12 (M/F)
                                              )
  JOSEPH A. WAYT,                             )
                                              )
                         Defendant.           )


                  ORDER ADOPTING REPORT AND RECOMMENDATION

         Having reviewed Magistrate Judge Kennard P. Foster’s Report and Recommendation that

  Joseph A. Wayt’s supervised released be revoked, pursuant to Title 18 U.S.C. §3401(i), Rule

  32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court now approves

  and adopts the Report and Recommendation as the entry of the Court, and orders a sentence imposed

  of imprisonment of 4 months in the custody of the Attorney General or his designee. No supervised

  release will follow. The defendant will self-surrender upon designation by the Bureau of Prisons

  of the place of incarceration.

         SO ORDERED this 07/27/2011



                                                     ________________________________
                                                     LARRY J. McKINNEY, JUDGE
                                                     United States District Court
                                                     Southern District of Indiana
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